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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1270V
                                    Filed: January 23, 2017
                                        UNPUBLISHED

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ANGELA BARRY,                            *
                                         *
                   Petitioner,           *     Ruling on Entitlement; Concession;
v.                                       *     Tetanus Diphtheria (“Tetanus”) Vaccine;
                                         *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                      *     Administration (“SIRVA”); Special
AND HUMAN SERVICES,                      *     Processing Unit (“SPU”)
                                         *
                   Respondent.           *
                                         *
****************************
Renee J. Gentry, Vaccine Injury Clinic, George Washington Univ. Law School,
Washington, DC, for petitioner.
Mallori Browne Openchoswki, U.S. Department of Justice, Washington, DC, for
respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

        On October 5, 2016, Angela Barry (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related
to vaccine administration (“SIRVA”) as a result of receiving a Tetanus Diphtheria
(“Tetanus”) vaccine on February 7, 2015. Petition at Introduction. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On January 23, 2017, respondent filed her Rule 4(c) report in which she
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent states that no other causes were identified for
petitioner’s shoulder injury and the medical records show that petitioner suffered the
1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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residual effects of her condition for more than six months. Id. at 5-6. Respondent
further agrees that petitioner has satisfied all legal prerequisites for compensation under
the Act. Id. at 6.

     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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